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                    IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE
____________________________________
PAMELA PEATE,                          )
                                       )    Case No.___________________
                  Plaintiff,           )
                                       )    COMPLAINT FOR DAMAGES
V.                                     )    (1) Negligence
                                       )    (2) Wanton Misconduct
NUBBLE POND PARTNERS d/b/a             )    (3) Punitive Damages
“LEE’S FAMILY TRAILER SALES            )
& SERVICE,” and MAINE FAMILY           )
CAMPING, INC. d/b/a “LEE’S FAMILY )
TRAILER SALES & SERVICE,”              )
LEE’S FAMILY TRAILER                   )
ACQUISITION, L.L.C., FRHP              )
LINCOLNSHIRE, L.L.C., CWI, INC.,       )
CAMPING WORLD RV SALES,L.L.C.          )
and DANIEL CRAFFEY,                    )
                                       )
                  Defendants.          )
____________________________________)
                       COMPLAINT AND JURY TRIAL DEMAND


       Now comes the Plaintiff, Pamela Peate, by and through her attorneys, Fales & Fales,

P.A., and complains against the Defendants as follows:

                                JURISDICTION AND VENUE

   1. The Court has jurisdiction over this action under 28 U.S.C. § 1332(a) in that this actions

       is between citizens of different states and the amount in controversy exceeds the sum or

       value of $75,000.00 exclusive of interest and costs.

   2. Venue is proper in the District of Maine pursuant to 28 U.S.C. § 1391(a) as the claims

       arose here.

                                           PARTIES


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 3. Plaintiff Pamela Peate is an adult and resides in the Town of Milford, County of New

    Haven, State of Connecticut. She is a citizen of the State of Connecticut.

 4. Defendant NUBBLE POND PARTNERS d/b/a “Lee’s Family Trailer Sales and Service”

    is a domestic corporation duly organized and existing under and by virtue of the laws of

    the State of Maine.

 5. Defendant MAINE FAMILY CAMPING, INC. d/b/a “Lee’s Family Trailer Sales and

    Service” is a domestic corporation duly organized and existing under and by virtue of the

    laws of the State of Maine.

 6. Defendant LEE’S FAMILY TRAILER ACQUISITION, L.L.C. is a domestic limited

    liability company organized and existing under and by virtue of the laws of the State of

    Maine.

 7. Defendant FRHP Lincolnshire, L.L.C. is a foreign limited liability company organized

    and existing under and by virtue of the laws of the State of Illinois.

 8. Defendant CWI, INC., is a foreign corporation organized and existing under and by

    virtue of the laws of the State of Kentucky.

 9. Defendant CAMPING WORLD RV SALES, L.L.C., is a foreign limited liability

    company organized and existing under and by virtue of the laws of the State of

    Minnesota.

 10. Defendant DANIEL CRAFFEY is an adult and a resident of the Town of Harrison,

    County of Cumberland, State of Maine.

                                         COUNT I

 11. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 1

    through 4 of this Complaint as if fully set forth herein.



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   12. Defendant NUBBLE POND PARTNERS d/b/a “Lee’s Family Trailer Sales and Service”

          on or about June 9, 2016 owned and operated a store at 480 Roosevelt Trail in the Town

          of Windham, County of Cumberland, State of Maine.

   13. On or about June 9, 2016, Pamela Peate was lawfully on the aforementioned premises

          owned, operated and maintained by Defendant NUBBLE POND PARTNERS d/b/a

          “Lee’s Family Trailer and Service.”

   14. Defendant NUBBLE POND PARTNERS d/b/a “Lee’s Family Trailer Sales and Service”

          on or about June 9, 2016 negligently maintained the parking lot it utilized for display of

          its recreational vehicle products in that the parking lot was poorly maintained and had

          multiple cracks and potholes.

   15. As a result of the negligence of Defendant NUBBLE POND PARTNERS d/b/a “Lee’s

          Family Trailer Sales and Service,” Plaintiff Pamela Peate on or about June 9, 2016 fell

          and suffered severe personal injury, has suffered and will continue to suffer great pain of

          mind and body and has loss enjoyment of life, has incurred and will continue to incur

          medical expense, has incurred and will continue to incur a loss of income and a loss of

          earning capacity, and has sustained permanent impairment.

   16. At all times pertinent to the Complaint, Plaintiff Pamela Peate was in the exercise of due

          care.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

NUBBLE POND PARTNERS d/b/a “Lee’s Family Trailer Sales and Service” in a sum of

reasonable upon the premises, together with interest and costs, and such other relief as is just and

proper.

                                              COUNT II

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   17. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 11

          through 14 of Count One of this Complaint as if fully set forth herein.

   18. At the time of Plaintiff Pamela Peate’s fall, Defendant NUBBLE POND PARTNERS

          d/b/a “Lee’s Family Trailer Sales and Service,” its agents, and employees were aware of

          other falls occurring in the same parking lot.

   19. The poorly maintained condition of the parking lot, Defendant NUBBLE POND

          PARTNERS d/b/a “Lee’s Family Trailer Sales and Service” knowledge of prior falls as a

          result of the poorly maintained condition of the parking lot, and Defendant NUBBLE

          POND PARTNERS d/b/a “Lee’s Family Trailer Sales and Service” refusal to repair the

          parking lot constitutes wanton misconduct regarding Plaintiff Pamela Peate’s safety.

   20. As a result of the wanton misconduct of Defendant NUBBLE POND PARTNERS d/b/a

          “Lee’s Family Trailer Sales and Service”, Plaintiff Pamela Peate on or about June 9, 2016

          fell and suffered severe personal injury, has suffered and will continue to suffer great

          pain of mind and body and has loss enjoyment of life, has incurred and will continue to

          incur medical expense, has incurred and will continue to incur a loss of income and a loss

          of earning capacity, and has sustained permanent impairment.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

NUBBLE POND PARTNERS d/b/a “Lee’s Family Trailer Sales and Service” in a sum of

reasonable upon the premises, together with interest and costs, and such other relief as is just and

proper.

                                               COUNT III

   21. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 1,

          2, 3 and 5 of this Complaint as if fully set forth herein.

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   22. Defendant MAINE FAMILY CAMPING, INC. d/b/a “Lee’s Family Trailer Sales and

          Service” on or about June 9, 2016 owned and operated a store at 480 Roosevelt Trail in

          the Town of Windham, County of Cumberland, State of Maine.

   23. On or about June 9, 2016, Pamela Peate was lawfully on the aforementioned premises

          owned, operated and maintained by Defendant MAINE FAMILY CAMPING, INC.,

          d/b/a “Lee’s Family Trailer Sales and Service.”

   24. Defendant MAINE FAMILY CAMPING, INC., d/b/a “Lee’s Family Trailer Sales and

          Service, Inc.,” on or about June 9, 2016 negligently maintained the parking lot it utilized

          for display of its recreational vehicle products in that the parking lot was poorly

          maintained and had multiple cracks and potholes.

   25. As a result of the negligence of Defendant MAINE FAMILY CAMPING, INC. d/b/a

          “Lee’s Family Trailer Sales and Service”, Plaintiff Pamela Peate on or about June 9, 2016

          fell and suffered severe personal injury, has suffered and will continue to suffer great

          pain of mind and body and has loss enjoyment of life, has incurred and will continue to

          incur medical expense, has incurred and will continue to incur a loss of income and a loss

          of earning capacity, and has sustained permanent impairment.

   26. At all times pertinent to the Complaint, Plaintiff Pamela Peate was in the exercise of due

          care.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

MAINE FAMILY CAMPING, INC. d/b/a “Lee’s Family Trailer Sales and Service” in a sum of

reasonable upon the premises, together with interest and costs, and such other relief as is just and

proper.

                                              COUNT IV

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   27. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 21

          through 24 of this Count Three of this Complaint as if fully set forth herein.

   28. At the time of Plaintiff Pamela Peate’s fall, Defendant MAINE FAMILY CAMPING,

          INC. d/b/a “Lee’s Family Trailer Sales and Service,” its agents, and employees were

          aware of other falls occurring in the same parking lot.

   29. The poorly maintained condition of the parking lot, Defendant MAINE FAMILY

          CAMPING, INC. d/b/a “Lee’s Family Trailer Sales and Service” knowledge of prior falls

          as a result of the poorly maintained condition of the parking lot, and Defendant MAINE

          FAMILY CAMPING, INC. d/b/a “Lee’s Family Trailer Sales and Service” refusal to

          repair the parking lot constitutes wanton misconduct regarding Plaintiff Pamela Peate’s

          safety.

   30. As a result of the wanton misconduct of Defendant MAINE FAMILY CAMPING, INC.

          d/b/a “Lee’s Family Trailer Sales and Service,” Plaintiff Pamela Peate on or about June 9,

          2016 fell and suffered severe personal injury, has suffered and will continue to suffer

          great pain of mind and body and has loss enjoyment of life, has incurred and will

          continue to incur medical expense, has incurred and will continue to incur a loss of

          income and a loss of earning capacity, and has sustained permanent impairment.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

MAINE FAMILY CAMPING, INC. d/b/a “Lee’s Family Trailer Sales and Service” in a sum of

reasonable upon the premises, together with interest and costs, and such other relief as is just and

proper.

                                              COUNT V




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   31. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 1,

       2, 3 and 6 of this Complaint as if fully set forth herein.

   32. Defendant LEE’S FAMILY TRAILER ACQUISITION, L.L.C., on or about June 9, 2016

       owned and operated a store at 480 Roosevelt Trail in the Town of Windham, County of

       Cumberland, State of Maine.

   33. On or about June 9, 2016, Pamela Peate was lawfully on the aforementioned premises

       owned, operated and maintained by Defendant LEE’S FAMILY TRAILER

       ACQUISITION, L.L.C.

   34. Defendant LEE’S FAMILY TRAILER ACQUISITION, L.L.C. on or about June 9, 2016

       negligently maintained the parking lot it utilized for display of its recreational vehicle

       products in that the parking lot was poorly maintained and had multiple cracks and

       potholes.

   35. As a result of the negligence of Defendant LEE’S FAMILY TRAILER ACQUISITION,

       L.L.C., Plaintiff Pamela Peate on or about June 9, 2016 fell and suffered severe personal

       injury, has suffered and will continue to suffer great pain of mind and body and has loss

       enjoyment of life, has incurred and will continue to incur medical expense, has incurred

       and will continue to incur a loss of income and a loss of earning capacity, and has

       sustained permanent impairment.

   36. At all times pertinent to the Complaint, Plaintiff Pamela Peate was in the exercise of due

       care.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

LEE’S FAMILY TRAILER ACQUISITION, L.L.C. in a sum of reasonable upon the premises,

together with interest and costs, and such other relief as is just and proper.


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                                             COUNT VI

   37. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 31

       through 34 of Count Five of this Complaint as if fully set forth herein.

   38. At the time of Plaintiff Pamela Peate’s fall, Defendant LEE’S FAMILY TRAILER

       ACQUISITION, L.L.C., its agents, and employees were aware of other falls occurring in

       the same parking lot.

   39. The poorly maintained condition of the parking lot, Defendant LEE’S FAMILY

       TRAILER ACQUISITION, L.L.C.’s, knowledge of prior falls as a result of the poorly

       maintained condition of the parking lot, and Defendant LEE’S FAMILY TRAILER

       ACQUISITION, L.L.C.’s refusal to repair the parking lot constitutes wanton misconduct

       regarding Plaintiff Pamela Peate’s safety.

   40. As a result of the wanton misconduct of Defendant LEE’S FAMILY TRAILER

       ACQUISITION, L.L.C., Plaintiff Pamela Peate on or about June 9, 2016 fell and suffered

       severe personal injury, has suffered and will continue to suffer great pain of mind and

       body and has loss enjoyment of life, has incurred and will continue to incur medical

       expense, has incurred and will continue to incur a loss of income and a loss of earning

       capacity, and has sustained permanent impairment.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

LEE’S FAMILY TRAILER ACQUISITION, L.L.C. in a sum of reasonable upon the premises,

together with interest and costs, and such other relief as is just and proper.

                                            COUNT VII

   41. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 1,

       2, 3 and 7 of this Complaint as if fully set forth herein.



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   42. Defendant FRHP LINCOLNSHIRE, L.L.C., on or about June 9, 2016 owned and

       operated a store at 480 Roosevelt Trail in the Town of Windham, County of Cumberland,

       State of Maine.

   43. On or about June 9, 2016, Pamela Peate was lawfully on the aforementioned premises

       owned, operated and maintained by Defendant FRHP LINCOLNSHIRE, L.L.C.

   44. Defendant FRHP LINCOLNSHIRE , L.L.C. on or about June 9, 2016 negligently

       maintained the parking lot it utilized for display of its recreational vehicle products in that

       the parking lot was poorly maintained and had multiple cracks and potholes.

   45. As a result of the negligence of Defendant FRHP LINCOLNSHIRE, L.L.C., Plaintiff

       Pamela Peate on or about June 9, 2016 fell and suffered severe personal injury, has

       suffered and will continue to suffer great pain of mind and body and has loss enjoyment

       of life, has incurred and will continue to incur medical expense, has incurred and will

       continue to incur a loss of income and a loss of earning capacity, and has sustained

       permanent impairment.

   46. At all times pertinent to the Complaint, Plaintiff Pamela Peate was in the exercise of due

       care.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

FRHP LINCOLNSHIRE, L.L.C. in a sum of reasonable upon the premises, together with interest

and costs, and such other relief as is just and proper.

                                            COUNT VIII

   47. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 41

       through 44 of Count Seven of this Complaint as if fully set forth herein.




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   48. At the time of Plaintiff Pamela Peate’s fall, Defendant FRHP LINCOLNSHIRE, L.L.C.,

       its agents, and employees were aware of other falls occurring in the same parking lot.

   49. The poorly maintained condition of the parking lot, Defendant FRHP LINCOLNSHIRE,

       L.L.C.’s, knowledge of prior falls as a result of the poorly maintained condition of the

       parking lot, and Defendant FRHP LINCOLNSHIRE, L.L.C.’s refusal to repair the

       parking lot constitutes wanton misconduct regarding Plaintiff Pamela Peate’s safety.

   50. As a result of the wanton misconduct of Defendant FRHP LINCOLNSHIRE, L.L.C.,

       Plaintiff Pamela Peate on or about June 9, 2016 fell and suffered severe personal injury,

       has suffered and will continue to suffer great pain of mind and body and has loss

       enjoyment of life, has incurred and will continue to incur medical expense, has incurred

       and will continue to incur a loss of income and a loss of earning capacity, and has

       sustained permanent impairment.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

FRHP LINCOLNSHIRE, L.L.C., in a sum of reasonable upon the premises, together with interest

and costs, and such other relief as is just and proper.

                                             COUNT IX

   51. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 1,

       2, 3 and 8 of this Complaint as if fully set forth herein.

   52. Defendant CWI, INC., on or about June 9, 2016 owned and operated a store at 480

       Roosevelt Trail in the Town of Windham, County of Cumberland, State of Maine.

   53. On or about June 9, 2016, Pamela Peate was lawfully on the aforementioned premises

       owned, operated and maintained by Defendant CWI, INC.




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    54. Defendant CWI, INC. on or about June 9, 2016 negligently maintained the parking lot it

        utilized for display of its recreational vehicle products in that the parking lot was poorly

        maintained and had multiple cracks and potholes.

    55. As a result of the negligence of Defendant CWI, INC., Plaintiff Pamela Peate on or about

        June 9, 2016 fell and suffered severe personal injury, has suffered and will continue to

        suffer great pain of mind and body and has loss enjoyment of life, has incurred and will

        continue to incur medical expense, has incurred and will continue to incur a loss of

        income and a loss of earning capacity, and has sustained permanent impairment.

    56. At all times pertinent to the Complaint, Plaintiff Pamela Peate was in the exercise of due

        care.

    WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

CWI, INC. in a sum of reasonable upon the premises, together with interest and costs, and such

other relief as is just and proper.

                                             COUNT X

    57. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 51

        through 54 of Count Nine of this Complaint as if fully set forth herein.

    58. At the time of Plaintiff Pamela Peate’s fall, Defendant CWI, INC., its agents, and

        employees were aware of other falls occurring in the same parking lot.

    59. The poorly maintained condition of the parking lot, Defendant CWI, INC.’s, knowledge

        of prior falls as a result of the poorly maintained condition of the parking lot, and

        Defendant CWI, INC.’s refusal to repair the parking lot constitutes wanton misconduct

        regarding Plaintiff Pamela Peate’s safety.




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    60. As a result of the wanton misconduct of Defendant CWI, INC., Plaintiff Pamela Peate on

        or about June 9, 2016 fell and suffered severe personal injury, has suffered and will

        continue to suffer great pain of mind and body and has loss enjoyment of life, has

        incurred and will continue to incur medical expense, has incurred and will continue to

        incur a loss of income and a loss of earning capacity, and has sustained permanent

        impairment.

    WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

CWI, INC. in a sum of reasonable upon the premises, together with interest and costs, and such

other relief as is just and proper.

                                             COUNT XI

    61. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 1,

        2, 3 and 9 of this Complaint as if fully set forth herein.

    62. Defendant CAMPING WORLD RV SALES, L.L.C., on or about June 9, 2016 owned

        and operated a store at 480 Roosevelt Trail in the Town of Windham, County of

        Cumberland, State of Maine.

    63. On or about June 9, 2016, Pamela Peate was lawfully on the aforementioned premises

        owned, operated and maintained by Defendant CAMPING WORLD RV SALES, L.L.C.,

    64. Defendant CAMPING WORLD RV SALES, L.L.C., on or about June 9, 2016

        negligently maintained the parking lot it utilized for display of its recreational vehicle

        products in that the parking lot was poorly maintained and had multiple cracks and

        potholes.

    65. As a result of the negligence of Defendant CAMPING WORLD RV SALES, L.L.C.,

        Plaintiff Pamela Peate on or about June 9, 2016 fell and suffered severe personal injury,

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       has suffered and will continue to suffer great pain of mind and body and has loss

       enjoyment of life, has incurred and will continue to incur medical expense, has incurred

       and will continue to incur a loss of income and a loss of earning capacity, and has

       sustained permanent impairment.

   66. At all times pertinent to the Complaint, Plaintiff Pamela Peate was in the exercise of due

       care.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

CAMPING WORLD RV SALES, L.L.C., in a sum of reasonable upon the premises, together

with interest and costs, and such other relief as is just and proper.

                                            COUNT XII

   67. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 61

       through 64 of Count Nine of this Complaint as if fully set forth herein.

   68. At the time of Plaintiff Pamela Peate’s fall, Defendant CAMPING WORLD RV SALES,

       L.L.C., its agents, and employees were aware of other falls occurring in the same parking

       lot.

   69. The poorly maintained condition of the parking lot, Defendant CAMPING WORLD RV

       SALES, L.L.C.’s, knowledge of prior falls as a result of the poorly maintained condition

       of the parking lot, and Defendant CAMPING WORLD RV SALES, L.L.C.,’s refusal to

       repair the parking lot constitutes wanton misconduct regarding Plaintiff Pamela Peate’s

       safety.

   70. As a result of the wanton misconduct of Defendant CAMPING WORLD RV SALES,

       L.L.C., Plaintiff Pamela Peate on or about June 9, 2016 fell and suffered severe personal

       injury, has suffered and will continue to suffer great pain of mind and body and has loss

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       enjoyment of life, has incurred and will continue to incur medical expense, has incurred

       and will continue to incur a loss of income and a loss of earning capacity, and has

       sustained permanent impairment.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

CAMPING WORLD RV SALES, L.L.C., in a sum of reasonable upon the premises, together

with interest and costs, and such other relief as is just and proper.

                                            COUNT XIII

   71. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 1,

       2, 3 and 10 of this Complaint as if fully set forth herein.

   72. Defendant DANIEL CRAFFEY d/b/a “Lee’s Family Trailer Sales and Service,” on or

       about June 9, 2016 owned the property located at 480 Roosevelt Trail in the Town of

       Windham, County of Cumberland, State of Maine.

   73. On or about June 9, 2016, Pamela Peate was lawfully on the aforementioned premises

       owned, operated and maintained by Defendant DANIEL CRAFFEY d/b/a “Lee’s Family

       Trailer Sales and Service.”

   74. Defendant DANIEL CRAFFEY d/b/a “Lee’s Family Trailer Sales and Service,” on or

       about June 9, 2016 negligently maintained the parking lot it utilized for display of its

       recreational vehicle products in that the parking lot was poorly maintained and had

       multiple cracks and potholes.

   75. As a result of the negligence of Defendant DANIEL CRAFFEY d/b/a “Lee’s Family

       Trailer Sales and Service,” Plaintiff Pamela Peate on or about June 9, 2016 fell and

       suffered severe personal injury, has suffered and will continue to suffer great pain of

       mind and body and has loss enjoyment of life, has incurred and will continue to incur

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       medical expense, has incurred and will continue to incur a loss of income and a loss of

       earning capacity, and has sustained permanent impairment.

   76. At all times pertinent to the Complaint, Plaintiff Pamela Peate was in the exercise of due

       care.

   WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

DANIEL CRAFFEY d/b/a “Lee’s Family Trailer Sales and Service,”in a sum of reasonable upon

the premises, together with interest and costs, and such other relief as is just and proper.

                                            COUNT XIV

   77. Plaintiff Pamela Peate repeats and realleges all the allegations contained in paragraphs 71

       through 74 of Count Nine of this Complaint as if fully set forth herein.

   78. At the time of Plaintiff Pamela Peate’s fall, Defendant DANIEL CRAFFEY d/b/a “Lee’s

       Family Trailer Sales and Service,” its agents, and employees were aware of other falls

       occurring in the same parking lot.

   79. The poorly maintained condition of the parking lot, the knowledge of Defendant

       DANIEL CRAFFEY d/b/a “Lee’s Family Trailer Sales and Service” of prior falls as a

       result of the poorly maintained condition of the parking lot, and the refusal of the

       Defendant DANIEL CRAFFEY d/b/a “Lee’s Family Trailer Sales and Service” to repair

       the parking lot constitutes wanton misconduct regarding Plaintiff Pamela Peate’s safety.

   80. As a result of the wanton misconduct of Defendant DANIEL CRAFFEY d/b/a “Lee’s

       Family Trailer Sales and Service,” Plaintiff Pamela Peate on or about June 9, 2016 fell

       and suffered severe personal injury, has suffered and will continue to suffer great pain of

       mind and body and has loss enjoyment of life, has incurred and will continue to incur




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        medical expense, has incurred and will continue to incur a loss of income and a loss of

        earning capacity, and has sustained permanent impairment.

    WHEREFORE, by this Count, Plaintiff Pamela Peate demands judgment against Defendant

DANIEL CRAFFEY d/b/a “Lee’s Family Trailer Sales and Service,” in a sum of reasonable

upon the premises, together with interest and costs, and such other relief as is just and proper.

                                     JURY TRIAL DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial by jury.

        Dated at Lewiston, Maine this 7th day of June, 2022.




                                              /s/ Anthony K. Ferguson ___
                                              Anthony K. Ferguson, Esq.
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